Case 5:18-cv-00541-EEF-MLH Document 568 Filed 02/07/22 Page 1 of 3 PageID #: 29989




   MINUTES [0:30]
   February 7, 2022

   ELIZABETH E. FOOTE
   UNITED STATES DISTRICT COURT
   WESTERN DISTRICT OF LOUISIANA
   SHREVEPORT DIVISION

   ANTHONY TELLIS, ET AL.                                 CIVIL ACTION NO. 18-541

   VERSUS                                                 JUDGE ELIZABETH E. FOOTE

   JAMES M. LEBLANC, ET AL.                               MAGISTRATE JUDGE HORNSBY

          On February 7, 2022, the Court convened a telephone status conference in the above-

   captioned matter. Melanie Bray, Jonathan Trunnell, and Emma Douglas participated on behalf of

   Plaintiffs. Connell Archey, Randal Robert, Keith Fernandez, and Madaline King participated on

   behalf of Defendants. Michael Schimpf is the law clerk in this matter, and any further questions

   about the minutes may be directed to him.

          The purpose of the status conference was to discuss several outstanding issues. First, the

   Court noted that the parties submitted briefs regarding whether the alleged statements of class

   members contained within certain DWCC records should be admitted for the truth of the matter

   asserted. The Court stated that it will rule on this matter in due course.

          Second, the Court considered the issue as to whether the deposition of Disability Rights

   should be admitted into evidence. The Court ordered the parties to submit simultaneous briefing on

   this issue by close of business on February 11, 2022. Defendants clarified that they only intended

   to introduce two pages of the deposition in connection with testimony regarding treatment plans.

   Plaintiffs stated that they do not believe the deposition is necessary because the relevant points were

   stipulated to in paragraphs 140 to 143 of the Joint Stipulation. In light of this information, Defendants

   requested a brief period to review the stipulations to determine if the stipulations adequately satisfy
Case 5:18-cv-00541-EEF-MLH Document 568 Filed 02/07/22 Page 2 of 3 PageID #: 29990




   their intended purpose. The Court ordered Defendants to notify Plaintiffs if Defendants were

   persisting in offering the deposition by 1:00 p.m. on February 8, 2022. On February 8, 2022, the

   Court received an email from Defendants notifying it that they were withdrawing their request to

   enter excerpts of the deposition of Disability Rights. Accordingly, this issue is now MOOT, and

   briefing is no longer necessary.

          Third, the Court asked the parties for their opinion regarding a reasonable timeframe for

   submitting their findings of fact and conclusions of law and if they had an opposition to a

   simultaneous briefing deadline. Both parties expressed no opposition to the briefing being

   simultaneous and requested three to four weeks to submit their findings of fact and conclusions of

   law. Considering this information, the deadline for the parties to submit their findings of fact and

   conclusions of law is March 7, 2022.

          Lastly, the Court discussed resetting the potential remedy phase of this trial. The Court stated

   that the remedy phase of the trial needs to be continued so that way the parties will have the benefit

   of the Court’s opinion in order to know what issues to prepare for, if any. After discussion, the

   remedy phase of the trial was RESET to the weeks of October 31, 2022, November 7, 2022, and

   November 28, 2022. The parties agreed to keep their calendars open for the week of November 14,

   2022, in case the Court’s calendar opens that week. The Court will promptly notify the parties if that

   week becomes available.

          Defendants believe that the current deadlines related to the remedy phase likely need to be

   extended by 90 days. The parties requested an opportunity to meet and confer on the proposed

   scheduling timeline before the Court set any deadlines. The Court agreed and ordered the parties to

   meet and confer and then submit a proposed scheduling timeline. The deadlines set out in Record

   Document 463 are UPSET.



                                               Page 2 of 3
Case 5:18-cv-00541-EEF-MLH Document 568 Filed 02/07/22 Page 3 of 3 PageID #: 29991




                                     ELIZABETH ERNY FOOTE
                                     UNITED STATES DISTRICT JUDGE




                                    Page 3 of 3
